904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Daniel Ray WATSON, Defendant-Appellant.
    No. 90-6787.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 22, 1990.Rehearing and Rehearing In Banc Denied June 14, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Parkersburg.  Charles H. Haden, II, Chief District Judge.  (CR No. 87-15-A;  C/A No. 88-937-A).
      Daniel Ray Watson, appellant pro se.
      Mary Stanley Feinberg, Assistant United States Attorney, Charleston, W. Va., for appellee.
      S.D.W.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Daniel Ray Watson appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Watson, CR No. 87-15-A;  C/A No. 88-937-A (S.D.W.Va. Jan. 19, 1990).  Accordingly, we deny Watson's request for the appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    